446 F.2d 1399
    Francis H. ROBINSON, Petitioner-Appellant,v.J. J. CLARK, Warden, Respondent-Appellee.No. 71-1808 Summary Calendar.*v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Aug. 16, 1971, Rehearing Denied Sept. 22, 1971.
    
      Francis H. Robinson, pro se.
      William Stafford, U.S. Atty., C. W. Eggart, Jr., Asst. U.S. Atty., Pensacola, Fla., for respondent-appellee.
      Before BELL, AINSWORTH, and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal is taken from an order of the district court denying the motion of a federal prisoner brought pursuant to 28 U.S.C.A. 2255.  We affirm.
    
    
      2
      Appellant is serving a five year sentence for conspiracy to violate the federal tax statutes regulating distillation of alcoholic beverages.  In his 2255 motion he alleged that information furnished to obtain a search warrant was obtained by trespass.  Appellant was arrested when officers, making a search pursuant to the warrant, discovered an illicit still on the premises searched.
    
    
      3
      The district court found from the trial transcript that no trespass occurred.  This finding is amply supported.
    
    
      4
      Since the record and files conclusively refute appellant's allegations, the district court did not err in denying relief without an evidentiary hearing.   28 U.S.C.A. 2255; Helpman v. United States, 5 Cir., 1967, 373 F.2d 401; Barrett v. United States, 5 Cir., 1961, 302 F.2d 151.
    
    
      5
      Affirmed.
    
    
      6
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        *(1) Rule 18, 5 Cir.; see Isbell Enterprises, Inc.
      
    
    